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                                     UNITED STATES BANKRUPTCY COURT
                                            CENTRAL DISTRICT OF CALIFORNIA
                                                    NORTHERN DIVISION


In re: CHANNEL TECHNOLOGIES, LLC                                  §                 Case No. 16-11912
                                                                  §
                                                                  §
                         Debtor(s)                                §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 06/30/2022                                                            Petition Date: 10/14/2016



Plan Confirmed Date:03/02/2018                                                       Plan Effective Date: 04/02/2018


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Corporate Recovery Associates, LLC*
                                                                                  Name of Authorized Party or Entity




/s/ Felicita A. Torres                                                  Felicita A. Torres, Esq.
Signature of Responsible Party                                           Printed Name of Responsible Party
07/13/2022                                                              Griffith & Thornburgh, LLP
Date                                                                    8 E. Figueroa Street, Suite 300
                                                                        Santa Barbara, CA 93101
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name CHANNEL TECHNOLOGIES, LLC                                                                   Case No. 16-11912


Part 1: Summary of Post-confirmation Transfers

                                                                                                                     Total Since
                                                                                             Current Quarter        Effective Date

 a. Total cash disbursements                                                                          $23,649             $10,177,039
 b. Non-cash securities transferred                                                                         $0                    $0
 c. Other non-cash property transferred                                                                     $0                    $0
 d. Total transferred (a+b+c)                                                                         $23,649             $10,177,039

Part 2: Preconfirmation Professional Fees and Expenses
                                                                               Approved       Approved     Paid Current     Paid
                                                                             Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                        $0       $60,923             $0        $60,923
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Winthrop Couchot Golubow           Special Counsel                     $0       $60,923             $0        $60,923
        ii
        iii
        iv
        v
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                                                                              Approved       Approved     Paid Current     Paid
                                                                            Current Quarter Cumulative      Quarter      Cumulative
b.     Professional fees & expenses (nonbankruptcy)
       incurred by or on behalf of the debtor             Aggregate Total
                                                                                       $0       $16,209             $0       $16,209
       Itemized Breakdown by Firm
                 Firm Name                        Role
       i         Department of Justice            Other                                $0        $4,875             $0        $4,875
       ii        U.S. Treasury                    Other                                $0       $11,334             $0       $11,334
       iii
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            ci
c.          All professional fees and expenses (debtor & committees)                        $0      $77,132           $0       $77,132

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                % Paid of
                                                  Payments          Paid Current                                            Allowed
                                                 Under Plan           Quarter           Paid Cumulative   Allowed Claims     Claims
 a. Administrative claims                                      $0              $0                    $0                $0         0%
 b. Secured claims                                             $0              $0                    $0                $0         0%
 c. Priority claims                                            $0              $0                    $0                $0         0%
 d. General unsecured claims                                   $0                  $0                $0                $0         0%
 e. Equity interests                                           $0              $0                    $0


Part 4: Questionnaire
     a. Is this a final report?                                                                           Yes    No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                 Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Richard Feferman, solely in his capacity as Senior                Richard Feferman, Corporate Recovery Assoc., LLC*
Signature of Responsible Party                                         Printed Name of Responsible Party
Managing Director/Principal of Liquidating Trustee*                    07/13/2022
Title                                                                  Date




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                                            Non-Bankruptcy Table 1-50




                                           Non-Bankruptcy Table 51-100




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